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December 27, 2021

By ECF
The Honorable Mary Kay Vyskocil
United States District Judge
Southern District of New York
500 Pearl Street, Courtroom 18C
New York, New York, 10007

        Re:      Ciaramella et al. v. Zucker,
                 No. 18 Civ. 6945 (MKV)

Dear Judge Vyskocil:

        The undersigned counsel represent plaintiffs Frank Ciaramella, Lillian Velazquez,
AnneMarie Walker, Antonio Martin, Christopher Russo, Matthew Adinolfi, Jody Virtuoso,
Yvonne Hawkins, Blanca Coreas, and Brenda Perry on behalf of themselves and all others
similarly situated (“Plaintiffs”),1 and Defendant former Commissioner Howard Zucker replaced
by now Acting Commissioner Mary T. Bassett, sued in her official capacity as Commissioner2 of
the New York State Department of Health (“Defendant” or “DOH”) (together, the “Parties”). The
Parties write jointly, pursuant to this Court’s November 29, 2021 Order (ECF 262), to respectfully
ask that the Court restore this matter to its calendar. While the Parties are pleased to confirm that
they have agreed in principle to settle the case, this matter should remain on the calendar for three
primary reasons.

        First, the Parties are actively negotiating a settlement agreement, which will feature
substantial changes to the scope of dental coverage that will be made available under the New
York State Medicaid Program (the “Program”). While the Parties have agreed in principle to the
scope of these changes, translating these changes, and how they will function in conjunction with
existing policies and the Program as a whole, into a formal settlement is taking significant time
and requires approval from several levels of authority at DOH.

       Second, given that this case has been certified as a Rule 23(b)(2) class action,3 the Parties
will need to reach agreement on the customary suite of other class action settlement documents
and pursue the class action settlement approval process under Rule 23. This process is likely to
extend well into the first quarter of 2022 or beyond.

        Third, one of the provisions being negotiated in the settlement agreement is a continuing
jurisdiction provision, which further supports the Court maintaining jurisdiction throughout
negotiations. Plaintiffs anticipate that the settlement agreement will include procedures for
Plaintiffs to enforce DOH’s ongoing commitments, which in turn would require the Court to
maintain enforcement jurisdiction.




1 Plaintiffs Ciaramella and Virtuoso regrettably passed away during the pendency of the above-captioned
action.
2 Pursuant to Federal Rules of Civil Procedure Rule 25ሺdሻ, Mary T. Bassett is automatically substituted for

Howard Zucker, following his resignation effective December 1, 2021.
3 See September 30, 2019 Opinion and Order (ECF 120).
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          For all of these reasons, the Parties respectfully request that the Court restore this action
to its calendar.



                                                                  Respectfully submitted,

    /s/ Wesley R. Powell                                      /s/ Rene F. Hertzog
    Wesley R. Powell                                          Rene F. Hertzog4
    Willkie Farr & Gallagher LLP                              Assistant Attorney General
    Counsel for Plaintiffs                                    Counsel for Defendant Howard Zucker

    Cc:     All counsel of record (by ECF)




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    Defendant’s counsel has given Plaintiffs’ counsel consent to e-sign the foregoing letter motion.
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